            Case 2:20-cr-00030-RMP         ECF No. 12       filed 10/08/21      PageID.76 Page 1 of 2
 PROB 12C                                                                              Report Date: October 8, 2021
(6/16)
                                                                                                 FILED IN THE
                                       United States District Court                          U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF WASHINGTON


                                                       for the                          Oct 08, 2021
                                                                                            SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jeremy Michael Hannum                     Case Number: 0980 2:20CR00030-RMP-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Donald Malloy, U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Rosanna Malouf Peterson, Senior U.S. District Judge
 Date of Original Sentence: October 9, 2015
 Original Offense:        Felon in Possession of a Firearm, 18 U.S.C. § 922(g)(1)
 Original Sentence:       Prison - 63 months                 Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Richard R. Barker                  Date Supervision Commenced: November 21, 2019
 Defense Attorney:        Federal Public Defender           Date Supervision Expires: November 20, 2022


                                          PETITIONING THE COURT
To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             1          Standard Condition #6: The defendant shall notify the probation officer at least ten days
                        prior to any change in residence or employment.

                        Supporting Evidence: It is alleged that Mr. Hannum failed to notify his U.S. Probation
                        officer at least 10 days before moving out of his last reported address on or about September
                        15, 2021.

                        On November 25, 2019, Mr. Hannum participated in a supervision intake at the U.S.
                        Probation Office. On that date, the mandatory, standard and special conditions of supervised
                        release were reviewed. Mr. Hannum signed a copy of the conditions of supervision
                        acknowledging an understanding of his conditions.

                        On October 6, 2021, the undersigned reported to Mr. Hannum’s last known and reported
                        residence. It was at this time an unknown male answered the door and informed the
                        undersigned that he had moved into this residence “weeks ago” and Mr. Hannum does not
                        reside at this residence. The undersigned has attempted to contact Mr. Hannum via his
                        cellular phone since September 28, 2021, though all calls and text messages have gone
                        unreturned. Mr. Hannum’s current whereabouts is unknown and he appears to be evading
                        supervision.
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The U.S. Probation Office respectfully recommends the Court issue a warrant requiring the offender to appear to
answer to the allegation(s) contained in this petition.



                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:      October 8, 2021
                                                                           s/Jonathan C. Bot
                                                                           Jonathan C. Bot
                                                                           U.S. Probation Officer



 THE COURT ORDERS

 [ ]       No Action
 [ X]      The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [ ]       Other

                                                                           Signature of Judicial Officer

                                                                                         10/8/2021
                                                                           Date
